Stephen P. Arnot
PO Box 1963
Lake Oswego, OR 97035
Email: arnotlaw@sbcglobal.net
Telephone: 503-227-5093

Chapter 7 Trustee


                               UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF OREGON

In re:                                             )
                                                   )       Case No. 16-30406-tmb7
SeaPort Airlines, Inc.,                            )
                                                   )       TRUSTEE’S REPORT OF SALE
                 Debtor.                           )       PURSUANT TO BR 6004

        STEPHEN P. ARNOT, Trustee, hereby reports the sale by the Estate of the following described
property per Notice dated November 2, 2016 (Dkt #454)

         Property Sold:       Insignia TVs and5 two way radios ($400.00)
         Purchased by:        Noel McDermott (Former Employee)
         Date Funds Received: December 20, 2016


         Property Sold:       Thinkpad T540, Dell Computer, Router & 2 Nortel/Avaya 1140s ($465)
         Purchased by:        Tony Maldonnado (Former Employee)
         Date Funds Received: January 24, 2017

         Trustee reports the additional assets stated in Notice to Sell (Dkt #454) did not sell as the buyer(s)
backed out of the sale after the notice was filed. Trustee will abandon the remaining assets under this
Notice as burdensome because assets were located out of state and would cost more to sell than
liquidation value.

DATED: March 15, 2018.



                                                           /s/ Stephen P. Arnot
                                                           Stephen P. Arnot, Chapter 7 Trustee


 




                          Case 16-30406-tmb7           Doc 577      Filed 03/15/18
